
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent converted his client’s settlement funds. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline in the form of disbarment. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Leon E. Roy, III, Louisiana Bar Roll number 18066, be and he hereby is disbarred. His name shall be stricken from the roll of attorneys and his license to practice law in the State of Louisiana shall be revoked.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
